Case 23-10611-amc   Doc 1   Filed 03/02/23 Entered 03/02/23 11:40:48   Desc Main
                            Document     Page 1 of 12
Case 23-10611-amc   Doc 1   Filed 03/02/23 Entered 03/02/23 11:40:48   Desc Main
                            Document     Page 2 of 12
Case 23-10611-amc   Doc 1   Filed 03/02/23 Entered 03/02/23 11:40:48   Desc Main
                            Document     Page 3 of 12
Case 23-10611-amc   Doc 1   Filed 03/02/23 Entered 03/02/23 11:40:48   Desc Main
                            Document     Page 4 of 12
Case 23-10611-amc   Doc 1   Filed 03/02/23 Entered 03/02/23 11:40:48   Desc Main
                            Document     Page 5 of 12
Case 23-10611-amc   Doc 1   Filed 03/02/23 Entered 03/02/23 11:40:48   Desc Main
                            Document     Page 6 of 12
Case 23-10611-amc   Doc 1   Filed 03/02/23 Entered 03/02/23 11:40:48   Desc Main
                            Document     Page 7 of 12
Case 23-10611-amc   Doc 1   Filed 03/02/23 Entered 03/02/23 11:40:48   Desc Main
                            Document     Page 8 of 12
Case 23-10611-amc   Doc 1   Filed 03/02/23 Entered 03/02/23 11:40:48   Desc Main
                            Document     Page 9 of 12
Case 23-10611-amc   Doc 1    Filed 03/02/23 Entered 03/02/23 11:40:48   Desc Main
                            Document      Page 10 of 12
Case 23-10611-amc   Doc 1    Filed 03/02/23 Entered 03/02/23 11:40:48   Desc Main
                            Document      Page 11 of 12
Case 23-10611-amc   Doc 1    Filed 03/02/23 Entered 03/02/23 11:40:48   Desc Main
                            Document      Page 12 of 12
